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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x

SHAKUR YOUNG,                                                               ANSWER TO THE SECOND
                                                    Plaintiff,              AMENDED COMPLAINT
                                                                            ON BEHALF OF
                                                                            DEFENDANT CITY OF NEW
                              -against-                                     YORK

                                                                            18 CV 3316 (VEC) (BCM)
CITY OF NEW YORK; WARDEN PRESSLEY;                                          Jury Trial Demanded
NYCDOC OFFICER CIELTO; JOSEPH PONTE; BRIAN
SUPRENANT; NEW YORK CITY HEALTH AND
HOSPITALS; CAPTAIN ANDJELOVIC,

                                                Defendants.

----------------------------------------------------------------------- x

                 Defendant City of New York (“defendant”) by its attorney, Zachary W. Carter,

Corporation Counsel of the City of New York, as and for its answer to the second amended

complaint (“SAC”), respectfully alleges, upon information and belief, as follows 1:

                 1.       Denies the allegations set forth in paragraph “1” of the SAC, except

admits that plaintiff purports to proceed as stated therein, and further states that the allegations

concerning whether the defendants were acting “under the color of state law” is a legal

conclusion to which no response is required.

                 2.       Denies the allegations set forth in paragraph “2” of the SAC, except

admits that plaintiff purports to proceed, and invoke the jurisdiction of the Court, as stated

therein.




1
  Pursuant to a December 28, 2018 Waiver of Service (ECF No. 23), defendant Joseph Ponte must answer or
otherwise respond to the Second Amended Complaint by February 26, 2019. Further, upon information and belief
and based on a review of the civil docket sheet in this matter, defendants Warden Pressley, NYCDOC Officer
Cielto, Brian Suprenant, New York City Health and Hospitals Corporation, and Captain Anjelovic have not been
served with process to date.
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               3.      Denies the allegations set forth in paragraph “3” of the SAC, except

admits that plaintiff purports to invoke the jurisdiction of the Court as stated therein.

               4.      Denies the allegations set forth in paragraph “4” of the SAC, except

admits only that, on or about September 18, 2017, upon information and belief, plaintiff was

incarcerated at the Robert N. Davoren Center (“RNDC”) on Rikers Island.

               5.      Denies the allegations set forth in paragraph “5” of the SAC, except

admits that the City of New York is a municipal entity created under the laws of the State of

New York and that it maintains the New York City Department of Correction (“DOC”);

defendant further respectfully refers the Court to the New York City Charter and Administrative

Code for a recitation of the relationship between the City of New York and DOC.

               6.      Denies the allegations set forth in paragraph “6” of the SAC.

               7.      Denies the allegations set forth in paragraph “7” of the SAC.

               8.      Denies the allegations set forth in paragraph “8” of the SAC, except

admits that on or about September 18, 2017, Ada Pressley was employed by the City of New

York as Warden of the Robert N. Davoren Center (“RNDC”).

               9.      Denies the allegations set forth in paragraph “9” of the SAC, except

admits that on or about September 18, 2017, Captain Andjelovic was employed by the City of

New York as a Correction Captain and was assigned shield number 1750.

               10.     Denies the allegations set forth in paragraph “10” of the SAC, except

admits that on or about September 18, 2017, Correction Officer Cielto was employed by the City

of New York as a Correction Officer and was assigned shield number 3731.




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                11.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “11” of the SAC, except admits that Shakur Young is the

plaintiff in this matter.

                12.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “12” of the SAC, except admits, upon information and

belief, that on or about September 18, 2017, plaintiff was exposed to oleoresin capsicum spray

(“OC”) in a bathroom.

                13.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “13” of the SAC.

                14.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “14” of the SAC.

                15.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “15” of the SAC.

                16.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “16” of the SAC.

                17.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “17” of the SAC.

                18.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “18” of the SAC.

                19.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “19” of the SAC.

                20.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “20” of the SAC.



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               21.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “21” of the SAC.

               22.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “22” of the SAC.

               23.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “23” of the SAC.

               24.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “24” of the SAC.

               25.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “25” of the SAC.

               26.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “26” of the SAC.

               27.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “27” of the SAC.

               28.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “28” of the SAC.

               29.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “29” of the SAC.

               30.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “30” of the SAC.

               31.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “31” of the SAC.




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                 32.      Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “32” of the SAC.

                 33.      Paragraph “33” of the SAC does not contain an averment of fact to which

a response is required.

                 34.      Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “34” of the SAC.

                 35.      Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “35” of the SAC.

                 36.      Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “36” of the SAC.

                 37.      Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “37” of the SAC.

                 38.      Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “38” of the SAC.

                 39.      Denies the allegations set forth in paragraph “38(a)” 2 of the SAC except,

to the extent that paragraph “38(a)” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendant denies the

allegations.

                 40.      Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “39” of the SAC.

                 41.      Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “40” of the SAC.


2
 Plaintiff’s SAC contains two consecutive paragraphs designated paragraph “38.” Accordingly, plaintiff’s second
paragraph “38” is designated herein as paragraph “38(a).”

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               42.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “41” of the SAC.

               43.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “42” of the SAC.

               44.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “43” of the SAC.

               45.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “44” of the SAC, except admits, upon information and

belief, that at approximately 12:20 p.m. on September 18, 2017, plaintiff arrived at the medical

clinic.

               46.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “45” of the SAC.

               47.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “46” of the SAC.

               48.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “47” of the SAC.

               49.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “48” of the SAC.

               50.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “49” of the SAC.

               51.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “50” of the SAC.




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               52.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “51” of the SAC.

               53.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “52” of the SAC.

               54.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “53” of the SAC.

               55.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “54” of the SAC.

               56.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “55” of the SAC.

               57.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “56” of the SAC.

               58.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “57” of the SAC.

               59.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “58” of the SAC.

               60.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “59” of the SAC.

               61.    Denies the allegations set forth in paragraph “60” of the SAC.

               62.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “61” of the SAC.

               63.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “62” of the SAC.



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               64.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “63” of the SAC.

               65.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “64” of the SAC.

               66.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “65” of the SAC.

               67.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “66” of the SAC.

               68.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “67” of the SAC.

               69.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “68” of the SAC except, to the extent that paragraph

“68” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendant denies the allegations.

               70.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “69” of the SAC.

               71.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “70” of the SAC.

               72.     Denies the allegations set forth in paragraph “71” of the SAC.

               73.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “72” of the SAC.

               74.     Paragraph “73” of the SAC does not contain averments of fact to which a

response is required. To the extent that a response is required, defendant denies the allegations,



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and respectfully refers the Court to the document referenced therein for a recitation of its

complete contents.

                75.     In response to the allegations set forth in paragraph “74” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                76.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “75” of the SAC regarding plaintiff’s purported injuries,

except, to the extent that paragraph “75” contains conclusions of law rather than averments of

fact, no response thereto is required. To the extent that a response is required, defendant denies

the allegations.

                77.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “76” of the SAC.

                78.     Paragraph “77” of the SAC does not contain averments of fact to which a

response is required. To the extent that a response is required, defendant denies the allegations.

                79.     Paragraph “78” of the SAC does not contain averments of fact to which a

response is required. To the extent that a response is required, defendant denies the allegations.

                80.     Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “79” of the SAC except, to the extent that paragraph

“79” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendant denies the allegations.




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                 81.     Paragraph “79(a)” 3 of the SAC does not contain averments of fact to

which a response is required. To the extent that a response is required, defendant denies the

allegations.

                 82.     Denies the allegations set forth in paragraph “80” of the SAC.

                 83.     Denies the allegations set forth in paragraph “81” of the SAC.

                 84.     Denies the allegations set forth in paragraph “82” of the SAC.

                 85.     Denies the allegations set forth in paragraph “82(a)” 4 of the SAC.

                 86.     Denies the allegations set forth in paragraph “83” of the SAC.

                 87.     Denies the allegations set forth in paragraph “84” of the SAC.

                 88.     In response to the allegations set forth in paragraph “85” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                 89.     Denies the allegations set forth in paragraph “86” of the SAC.

                 90.     In response to the allegations set forth in paragraph “87” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                 91.     Denies the allegations set forth in paragraph “88” of the SAC.

                 92.     In response to the allegations set forth in paragraph “89” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                 93.     Denies the allegations set forth in paragraph “90” of the SAC.

3
 Plaintiff’s SAC contains two consecutive paragraphs designated paragraph “79.” Accordingly, plaintiff’s second
paragraph “79” is designated herein as paragraph “79(a).”
4
 Plaintiff’s SAC contains two consecutive paragraphs designated paragraph “82.” Accordingly, plaintiff’s second
paragraph “82” is designated herein as paragraph “82(a).”

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                94.     In response to the allegations set forth in paragraph “91” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                95.     Denies the allegations set forth in paragraph “92” of the SAC, except

admits that Joseph Ponte was employed by the City of New York as the Commissioner of the

DOC, Brian Suprenant was employed by the City of New York as the DOC Bureau Chief of

Security, Ada Pressley was employed by the City of New York as Warden of RNDC, Captain

Andjelovic was employed by the City of New York as a Correction Captain and was assigned

shield number 1750, and Officer Cielto was employed by the City of New York as a Correction

Officer and was assigned shield number 3731.

                96.     Denies the allegations set forth in paragraph “93” of the SAC.

                97.     Denies the allegations set forth in paragraph “94” of the SAC.

                98.     Denies the allegations set forth in paragraph “95” of the SAC.

                99.     Denies the allegations set forth in paragraph “96” of the SAC.

                100.    In response to the allegations set forth in paragraph “97” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                101.    Denies the allegations set forth in paragraph “98” of the SAC.

                102.    In response to the allegations set forth in paragraph “99” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                103.    Denies the allegations set forth in paragraph “100” of the SAC.

                104.    Denies the allegations set forth in paragraph “101” of the SAC.



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                105.    In response to the allegations set forth in paragraph “102” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                106.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “103” of the SAC, except admits that plaintiffs purport to

seek relief as stated therein. Further, to the extent that paragraph “103” contains conclusions of

law rather than averments of fact, no response thereto is required. To the extent that a response

is required, defendant denies the allegations.

                107.    In response to the allegations set forth in paragraph “104” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                108.    Denies the allegations set forth in paragraph “105” of the SAC.

                109.    In response to the allegations set forth in paragraph “106” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                110.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “107” of the SAC, except admits that plaintiffs purport to

seek relief as stated therein. Further, to the extent that paragraph “107” contains conclusions of

law rather than averments of fact, no response thereto is required. To the extent that a response

is required, defendant denies the allegations.

                111.    In response to the allegations set forth in paragraph “108” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.



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                112.    Denies the allegations set forth in paragraph “109” of the SAC, except

further states that the allegations concerning whether the defendants were “acting within the

scope of their employment” is a conclusion of law to which no response is required.

                113.    Denies the allegations set forth in paragraph “110” of the SAC.

                114.    In response to the allegations set forth in paragraph “111” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                115.    Denies the allegations set forth in paragraph “112” of the SAC.

                116.    In response to the allegations set forth in paragraph “113” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                117.    Denies the allegations set forth in paragraph “114” of the SAC except, to

the extent that paragraph “114” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendant denies the

allegations.

                118.    Denies the allegations set forth in paragraph “115” of the SAC except, to

the extent that paragraph “115” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendant denies the

allegations.

                119.    Denies the allegations set forth in paragraph “116” of the SAC.

                120.    In response to the allegations set forth in paragraph “117” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.



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                121.    Denies the allegations set forth in paragraph “118” of the SAC, except

admits that plaintiffs purport to seek relief as stated therein. Further, to the extent that paragraph

“118” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendant denies the allegations.

                122.    In response to the allegations set forth in paragraph “119” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                123.    Denies the allegations set forth in paragraph “120” of the SAC, except

states that the allegations concerning whether the defendant was “acting within the scope of his

employment” is a conclusion of law to which no response is required.

                124.    Denies the allegations set forth in paragraph “121” of the SAC, except

admits that plaintiffs purport to seek relief as stated therein. Further, to the extent that paragraph

“121” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendant denies the allegations.

                125.    In response to the allegations set forth in paragraph “122” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                126.    Denies the allegations set forth in paragraph “123” of the SAC except, to

the extent that paragraph “123” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendant denies the

allegations.

                127.    Denies the allegations set forth in paragraph “124” of the SAC.




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                128.    In response to the allegations set forth in paragraph “125” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                129.    Denies the allegations set forth in paragraph “126” of the SAC.

                130.    Denies the allegations set forth in paragraph “127” of the SAC.

                131.    In response to the allegations set forth in paragraph “128” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                132.    Denies the allegations set forth in paragraph “129” of the SAC except.

                133.    Denies the allegations set forth in paragraph “130” of the SAC, and

respectfully refers the Court to the sources cited therein for an accurate recitation of the

information contained therein.

                134.    In response to the allegations set forth in paragraph “131” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                135.    Denies the allegations set forth in paragraph “132” of the SAC, except

admits that on September 18, 2017, Captain Andjelovic was employed by the City of New York

as a Correction Captain and was assigned shield number 1750, and Officer Cielto was employed

by the City of New York as a Correction Officer and was assigned shield number 3731.

                136.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “133” of the SAC except, to the extent that paragraph

“133” contains conclusions of law rather than averments of fact, no response thereto is required.

To the extent that a response is required, defendant denies the allegations.



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                137.    Denies knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “134” of the SAC regarding plaintiff’s purported

injuries. Further, to the extent that paragraph “134” contains conclusions of law rather than

averments of fact, no response thereto is required. To the extent that a response is required,

defendant denies the allegations.

                138.    Paragraph “135” of the SAC does not contain averments of fact to which a

response is required. To the extent that a response is required, defendant denies the allegations.

                139.    In response to the allegations set forth in paragraph “136” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.

                140.    Denies the allegations set forth in paragraph “137” of the SAC.

                141.    Denies the allegations set forth in paragraph “138” of the SAC, and

respectfully refers the Court to the sources cited therein for an accurate recitation of the

information contained therein.

                142.    Denies the allegations set forth in paragraph “139” of the SAC.

                143.    Denies the allegations set forth in paragraph “140” of the SAC except, to

the extent that paragraph “140” contains conclusions of law rather than averments of fact, no

response thereto is required. To the extent that a response is required, defendant denies the

allegations.

                144.    In response to the allegations set forth in paragraph “141” of the SAC,

defendant repeats and reallege the responses set forth in the preceding paragraphs of this answer

to the SAC, as if fully set forth herein.




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              145.    Denies the allegations set forth in paragraph “142” of the SAC, and

respectfully refers the Court to N.Y. GEN. MUN. LAW § 50-k for a recitation of the circumstances

in which employees of the City of New York will be indemnified in judgments.

              146.    Denies the allegations set forth in paragraph “143” of the SAC, and

respectfully refers the Court to N.Y. GEN. MUN. LAW § 50-k for a recitation of the circumstances

in which employees of the City of New York will be indemnified in judgments.




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                                  FIRST AFFIRMATIVE DEFENSE:

                147.       The complaint fails to state a claim upon which relief can be granted.

                                SECOND AFFIRMATIVE DEFENSE:

                148.       Any injury alleged to have been sustained resulted from plaintiff’s own

culpable or negligent conduct or the conduct of a third party and was not the proximate result of

any act of defendant.

                                 THIRD AFFIRMATIVE DEFENSE:

                149.       Plaintiff’s claims may be barred, in whole or in part, by the applicable

statutes of limitations.

                                FOURTH AFFIRMATIVE DEFENSE:

                150.       At all times relevant to the acts alleged in the complaint, the duties and

functions of the municipal defendant’s officials entailed the reasonable exercise of proper and

lawful discretion. Therefore, defendant City has governmental immunity from liability.

                                  FIFTH AFFIRMATIVE DEFENSE:

                151.       Plaintiff’s claims are barred, in whole or in part, by 42 U.S.C. §§ 1997e.

                                  SIXTH AFFIRMATIVE DEFENSE:

                152.       To the extent that the complaint alleges any claims arising under New

York State law, such claims are barred, in whole or in part, by reason of plaintiff’s failure to

comply with the requirements of the N.Y. GEN. MUN. LAW § 50-(e), (h) and/or (i).

                                   SEVENTH AFFIRMATIVE DEFENSE:

                153.       Plaintiff initiated any incident.

                                    EIGHTH AFFIRMATIVE DEFENSE:

                154.       Plaintiff failed to mitigate his damages.



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                                 NINTH AFFIRMATIVE DEFENSE:

               155.   Plaintiff cannot recover damages from alleged emotional injury under the

PLRA because there is no showing of physical injury.

                              TENTH AFFIRMATIVE DEFENSE:

               156.   Plaintiff fails to state a viable Monell claim under Monell v. Dep’t of Soc.

Serv., 436 U.S. 658 (1978).

               WHEREFORE, defendant City of New York requests judgment dismissing the

complaint in its entirety, together with the costs and disbursements of this action, and such other

and further relief as the Court may deem just and proper.


Dated:         New York, New York
               January 9, 2019


                                                       ZACHARY W. CARTER
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                                                       By:            /s/
                                                             ___________________________
                                                             NAKUL Y. SHAH
                                                             Assistant Corporation Counsel
                                                             Special Federal Litigation Division

cc:      Shakur Young, DIN 17-R-3045, Plaintiff Pro Se
         Greene Correctional Facility
         P.O. Box 975
         Coxsackie, NY 12051-0975 (by First-Class Mail)




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             Docket No. 18 CV 3316 (VEC) (BCM)
             UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK

             SHAKUR YOUNG,

                                                                         Plaintiff,

                                                 -against-

             CITY OF NEW YORK; WARDEN PRESSLEY;
             NYCDOC OFFICER CIELTO; JOSEPH PONTE;
             BRIAN SUPRENANT; NEW YORK CITY HEALTH
             AND HOSPITALS CORPORATION; CAPTAIN
             ANJELOVIC,


                                                                    Defendants.


                   ANSWER TO THE SECOND AMENDED
                 COMPLAINT ON BEHALF OF DEFENDANT
                         CITY OF NEW YORK


                             ZACHARY W. CARTER
                     Corporation Counsel of the City of New York
                       Attorney for Defendant City of New York
                                  100 Church Street
                             New York, New York 10007

                                  Of Counsel: Nakul Y. Shah
                                     Tel: (212) 356-2375

             Due and timely service is hereby admitted.

             New York, New York. ............................................, 2019

             .................................................................................. Esq.

             Attorney for .......................................................................
